Case No. 1:13-cv-01300-MSK-MJW Document 70-5 filed 08/22/13 USDC Colorado pg 1 of
                                      8




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 13-CV-1300-MSK-MJW

   JOHN B. COOKE, Sheriff of Weld County, Colorado, et al.

         Plaintiffs,

   vs.

   JOHN W. HICKENLOOPER, Governor of the State of Colorado,

         Defendant.

   RESPONSE OF BACA COUNTY SHERIFF DAVE CAMPBELL TO
             DEFENDANT’S INTERROGATORIES

          Sheriff Campbell, by and through his undersigned counsel, and pursuant to Fed.
   R. Civ. P. 33(b), hereby responds to Defendant’s Interrogatories as follows:

                               GENERAL OBJECTIONS

         Where no objection is interposed, the responses below reflect all responsive
 information and documents identified by Sheriff Campbell before the date of the
 responses, pursuant to a reasonable and diligent search and investigation conducted
 in connection with this discovery. To the extent the discovery purports to require
 more, Sheriff objects on the grounds that (a) the discovery seeks to compel him to
 conduct a search beyond the scope of permissible discovery contemplated by the
 Federal Rules of Civil Procedure, and (b) compliance with the discovery would be
 oppressive, and would impose an undue burden or expense.

         Sheriff Campbell’s discovery responses are also made subject to the ongoing
   discovery and trial preparation in this case. These discovery responses are made
   based on the best information, including facts available as of the date of such
   responses. Sheriff Campbell reserves the right to amend, supplement, or change
   these discovery responses as permitted or required under the Federal Rules of Civil
   Procedure based on additional information obtained through the discovery and trial
   preparation process.

         Sheriff Campbell makes each individual response subject to and without
   waiving the conditions and objections that are stated in the sections of these


                                             1
Case No. 1:13-cv-01300-MSK-MJW Document 70-5 filed 08/22/13 USDC Colorado pg 2 of
                                      8




   responses entitled “General Objections” and “Objections to Instructions and
   Definitions” and that are specifically referred to in that particular individual
   response.

          Sheriff Campbell makes each individual response without adopting in any
   way (unless otherwise stated) the terms and phrases that Defendant purports to
   define in his discovery. When Sheriff Campbell uses words or phrases that
   Defendant has purported to define, those words and phrases should be given either
   (a) the meaning set out by Sheriff Campbell in his responses, or in its objections to
   the specific definitions, or (b) the ordinary meaning of such words or phrases.


              OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

          Defendant has purported to define several terms used in his discovery. In his
   responses, Sheriff Campbell gives ordinary words and phrases their ordinary
   meaning. By making this written response, Sheriff Campbell does not (a) adopt any
   purported definition, (b) waive or limit its objections to Defendant’s purported
   definitions, or (c) concede the applicability of any such definition to any term or
   phrase that might be contained in written responses. Wherever these words are
   used in Defendant’s interrogatories, these objections and these clarifications are
   incorporated, unless otherwise specified in the request.

         Defendant purported to define “you” and “your” to include “counsel for
   Plaintiffs.” Sheriff Campbell objects to this definition to the extent that it purports
   to require the disclosure of information, communications, or documents protected
   from disclosure by the attorney-client privilege, work product immunity, or any
   other privilege or immunity.

   RESPONSES

   1. With respect to each and every home invasion or “robbery in the home” to which
   your department has responded since January 1, 2004, please:

      a. describe the circumstances surrounding the home invasion/robbery in the
         home, including: the date and location (by city and county), the number of
         perpetrators involved, whether or not the perpetrator(s) carried firearms, and
         whether or not the perpetrator(s), victim(s), or others fired any shots;

   Response: The list below provides the data available at this time:




                                             2
Case No. 1:13-cv-01300-MSK-MJW Document 70-5 filed 08/22/13 USDC Colorado pg 3 of
                                      8




   There have been two such incidents.

   CONFIDENTIAL:

   March 4, 2012. Springfield. Three shots were fired through the window of a home.
   We do not have information about the type of gun or the magazine. No-one was
   injured.

   Feb. 23, 2013. Vilas. Five individuals entered the home of some people who were
   known to them, and began assaulting them. One person in the home fired 6 shots
   from a pistol. There were no reported injuries.




         b. if a firearm was fired or otherwise used or displayed by any person,
         identify who used, displayed, or discharged the firearm, the manner in which
         they did so, whether the firearm used a magazine, the capacity of any
         magazines from which bullets were fired, the number of rounds fired by each
         individual, and whether any person was shot;

   Response: Sheriff Campbell objects to this interrogatory on the ground that the
   phrase “otherwise used or displayed” is vague and ambiguous. Subject to and
   without waiving this objection:

   The Baca County Sheriff's Office does not information beyond what is stated above.


   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response:

   Apparently none.


   2. With respect to each and every occasion when you, your predecessor(s) in office,
   or a sheriff’s deputy has discharged a firearm in the course of duty since January 1,
   2004 (not including firearm practice or training), please:




                                             3
Case No. 1:13-cv-01300-MSK-MJW Document 70-5 filed 08/22/13 USDC Colorado pg 4 of
                                      8




   a. describe the circumstances surrounding the firearm discharge, including the
   date, location (by city and county), the reason for the firearm discharge, and
   whether you, your predecessor(s), or deputy were fired upon;

   Response: Sheriff Campbell objects to this interrogatory on the ground that it is
   overbroad and not reasonably calculated to lead to the discovery of admissible
   evidence. Subject to and without waiving this objection: The Baca County Sheriff's
   Office has not been involved in an incident that required any deputy to discharge
   their firearm during this time frame.


   b. if a firearm was fired by any person involved in the event, identify who fired the
   firearm, whether the firearm used a magazine, the capacity of any magazines from
   which bullets were fired, the number of rounds fired by each individual, and
   whether any person was shot;

   Response: Sheriff Campbell objects to this interrogatory on the ground that the
   word “event” is vague. Subject to and without waiving this objection: Not
   applicable.


   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: Not applicable.

   3. With respect to the allegations of paragraph 102 of the First Amended Complaint
   (doc. #22), describe every instance since January 1, 1973 in which you or your
   predecessors in office requested the armed assistance of able-bodied adults (“posse
   comitatus”). In your response, state in detail the circumstances surrounding each
   such request, including:

   a. the reason for the request, the number of individuals who responded to the
   request, whether such individuals were law enforcement officers or were deputized
   for the purposes of participating, and whether these individuals were required by
   you or your predecessors to carry firearms in connection with their participation;

   Response: The Baca County Sheriff's Office has a posse that is typically made up
   of 12-20 volunteer members. At the current time, there are 15 active members. The
   Baca County Sheriff's Posse's primary purpose is to support the Baca County
   Sheriff's Office during large public events, natural disasters, and incidents where
   the Baca County Sheriff's Office alone may be unable to provide the level of security


                                             4
Case No. 1:13-cv-01300-MSK-MJW Document 70-5 filed 08/22/13 USDC Colorado pg 5 of
                                      8




   or safety the public requires. The Baca County Posse most frequently assists in
   yearly road closures for winter storms requiring manned road closures and during
   road closures due to large scale fires. During these events, their goal is to keep the
   public out of the area and provide scene security. The Baca County Posse operates
   under the direction of the Baca County Sheriff's Office. Posse members are required
   to be armed, and they provide their own firearms.

   b. whether any individual who responded to the request to assist law enforcement
   or any individual(s) they encountered while assisting law enforcement discharged a
   firearm. If shots were fired, state the circumstances surrounding the discharge of
   the firearm(s), including: who discharged a firearm, whether the firearm(s) used a
   magazine, the capacity of any magazines from which bullets were fired, the number
   of rounds fired, and whether any person was shot;

   Response: None.

   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: None.

   4. With respect to the allegations of paragraph 103 of the First Amended Complaint
   (doc. #22), describe every instance since January 1, 2004 when you or your
   predecessors appointed deputies who were not certified peace officers. In your
   response, state in detail:

   a. the date and duration of each individual’s appointment, the circumstances
   surrounding the need for the “non-certified” deputy, whether the non-certified
   deputy was required to carry a firearm, whether the “non-certified” deputy carried a
   firearm he/she supplied or a firearm supplied by the sheriff’s office, and whether
   any non-certified deputy ever discharged a firearm;

   Response: The Baca County Sheriff's Office detention staff consists of two regular
   full time employees and three part time employees. The detention staff has hands
   on contact with all our inmates on either an individual basis or in a group setting.
   The jail staff performs all intakes, inmate transports, medication passes, trustee
   supervisions, aids with crowd control, and road closures. Those who are qualified to
   use a firearm and choose to carry a firearm are required to maintain the same
   training requirements as the Baca County Sheriff's Office deputies.

   The Baca County Sheriff's Office also employs one full time and one part time non-
   certified peace officer for court house security. The court house security staff are


                                             5
Case No. 1:13-cv-01300-MSK-MJW Document 70-5 filed 08/22/13 USDC Colorado pg 6 of
                                      8




   qualified to use firearms and must also maintain the same training requirements as
   the Baca County Sheriff's Office deputies.



   b. the circumstances surrounding the discharge of the non-certified deputy’s
   firearm, including: the date and location of the event, whether the non-certified
   deputy was fired upon, the number of rounds fired by the non-certified deputy, the
   number of rounds fired by others involved in the event, the capacities of magazines
   from which bullets were fired, and whether any individual was shot;

   Response: None.


   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: None.



   5. Describe every occasion since January 1, 2004 when you, your predecessor
   sheriff(s), a sheriff’s deputy, or a family member living with these individuals has
   discharged or otherwise used or displayed a firearm in defense of self, home, or
   other family members. In your response, describe the circumstances surrounding
   each event, including: the events leading to the use, display, or discharge of the
   firearm, the number of rounds fired by you or others, and the capacity of magazines
   used by firearms that were discharged. If any person was shot, identify the
   individuals who inflicted and suffered any gunshot injuries and state whether any
   individual was killed.

   Response: Sheriff Campbell objects to this interrogatory on the ground that the
   phrase “otherwise used or displayed” is vague and ambiguous. Subject to and
   without waiving this objection: The Baca County Sheriff's Office does not know of
   any incident where a sheriff, deputy, or family member used, displayed or
   discharged a firearm in defense of self, family or home.


   6. With respect to the allegations of paragraph 105 of the First Amended Complaint
   (doc. #22), describe every instance since January 1, 2004 in which you or your
   predecessors in office requested armed citizen assistance for emergencies and



                                             6
Case No. 1:13-cv-01300-MSK-MJW Document 70-5 filed 08/22/13 USDC Colorado pg 7 of
                                      8




   natural disasters. In your response, state in detail the circumstances surrounding
   each such request, including:

   a. the reason for the request, the number of individuals who responded to the
   request, and whether such individuals were law enforcement officers or were
   deputized for the purposes of participating, and whether these individuals were
   required by you or your predecessors to carry firearms;

   Response: During certain emergencies, the Baca County Sheriff's Office may
   request the assistance of the Sheriff's Posse. During these events, and when the
   posse is utilized, they are armed while providing the necessary services.


   b. whether any individual who responded to the request to assist law enforcement
   or any individual(s) they encountered while assisting law enforcement discharged a
   firearm. If shots were fired, state the circumstances surrounding the discharge of
   the firearm(s), including: who discharged a firearm, whether the firearm(s) used a
   magazine, the capacity of any magazines from which bullets were fired, the number
   of rounds fired, and whether any person was shot;

   Response: None.

   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: Not applicable.




                                             7
Case No. 1:13-cv-01300-MSK-MJW Document 70-5 filed 08/22/13 USDC Colorado pg 8 of
                                      8




   AS TO OBJECTIONS:
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                                          INDEPENDENCE INSTITUTE
                                          727 E. 16th Avenue
                                          Denver, CO 80203
                                          Phone: (303) 279-6536
                                          Fax: (303) 279-4176
                                          david@i2i.org

                                          ATTORNEY FOR SHERIFFS AND DAVID
                                          STRUMILLO

   AS TO RESPONSES:
         Pursuant to 28 U.S.C. § 1746, I, Dave Campbell, do hereby verify under
   penalty of perjury that the foregoing responses to Defendant’s Interrogatories are
   true and correct to the best of my information and belief.

         Dated this 12th day of August, 2013.

                                          ______            _____________
                                          s/Sheriff Dave Campbell




                                            8
